       Case 6:24-cv-00037-BMM-KLD Document 21 Filed 08/05/24 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                              HELENA DIVISION


                                               CV-24-037-H-BMM-KLD
 FORT HARRISON VETERANS
 RESIDENCES,
                                                    ORDER
                     Plaintiff,

 vs.

 MONTANA DEPARTMENT OF
 COMMERCE,
             Defendant.

       Objection to the jurisdiction of a United States Magistrate Judge having been

met,

       IT IS ORDERED:

       1. The case is reassigned to the Honorable Brian Morris, United States

District Judge, for all further proceedings and entry of judgment.

       2.     Pursuant to 28 U.S.C. 636(b)(1)(A), the case is referred to the

Honorable Kathleen L. Desoto, United States Magistrate Judge, for all pretrial,

non-dispositive matters.

3.     The Clerk of Court is directed to forthwith notify the parties of the making of

this Order.
Case 6:24-cv-00037-BMM-KLD Document 21 Filed 08/05/24 Page 2 of 2




DATED this 5th day of August 2024.
